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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY
LOUISVILLE DIVISION

THE HONORABLE ORDER OF

KENTUCKY COLONELS, INC.
PLAINTIFF,

V. CIVIL ACTION NO. 3:04CV-465-H

BUILDING CHAMPIONS, LLC,

d/b/a KENTUCKY COLONELS
BASKETBALL

Name Nee eee See Nee See” Smee” eee” ree Sere See” See”

DEFENDANT.

DEFENDANT’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO
PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

Building Champions, LLC (“Building Champions”), by counsel, in support of its

Opposition to Plaintiff's Motion for Preliminary Injunction, states as follows:
INTRODUCTION

Plaintiff's extraordinary demand for injunctive relief where Building Champions
uses its own stylized service mark on T-shirts and other basketball-related merchandise is
completely unwarranted. Plaintiff has finally conceded, as it must, that there exists a
secondary source doctrine under trademark law which acknowledges that use of a mark
as ornamentation on a T-shirt or other novelty or souvenir item can be of a special nature
which inherently tells the purchasing public the secondary source of the product - as
opposed to the actual manufacturer of the product. Plaintiff has already acknowledged
that there is no likelihood of confusion between Plaintiff's use of the “KENTUCKY

COLONELS” term and Building Champions' use of its “KENTUCKY COLONELS”
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service mark for basketball services’. Accordingly, there can be no confusion where the
same service mark appears on a T-shirt in a manner clearly depicting the basketball team
as its source.

Based on the arguments and evidence set forth to date, it 1s crystal clear that
Plaintiff will not succeed on the merits of its trademark infringement claim. As such,
Plaintiff has not met its burden of proving the first element required for Plaintiff to be
afforded the drastic relief it seeks in the form of a preliminary injunction. In addition,
Plaintiff has failed to establish that it will suffer irreparable harm and yet, Defendant and
the public will suffer immeasurably by such a result. Building Champions respectfully
requests that the Court deny Plaintiff's motion for injunctive relief.

The Court has specifically requested additional briefing on the legal significance
of (1) secondary source and (ii) genericness in the trademark context. The following sets
forth the legal significance of both concepts.

ARGUMENT

A. Secondary Source

Where a mark is used to identify and distinguish a product or service, a mark can
also serve to identify and distinguish a secondary source as an indication of sponsorship
or authorization from a known entity. See in re Expo '74, 189 U.S.P.Q. 48 (T.T.A.B.
1975) (EXPO '74 registered as a mark for T-shirts by promoters of 1974 World's Fair; as
used on T-shirts, EXPO '74 can and did serve a trademark function as an indication of

origin.) In addition, the court in Jn re Olin Corp., 181 U.S.P.Q. 182, 182 (T.T.A. B.

' A trademark is a source-identifying word, name, symbol, device (or any combination thereof) for
distinguishing a product. See 15 U.S.C. §1127. A service mark is the same thing used to distinguish a
service. /d. Building Champions currently owns two federal service marks for basketball-related services:
(1) App. No. 78391004 for KENTUCKY COLONELS (word mark) and (2) App. No. 78433951 for
KENTUCKY COLONELS LOUISVILLE (stylized design mark).

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1973) stated, "It is a matter of common knowledge that T-shirts are 'ornamented' with
various insignia... [and that] the ornamentation of a T-shirt can be of a special nature
which inherently tells the purchasing public the source of the T-shirt, not the source of
the manufacture but the secondary source.” As the court further noted,

“Thus, the name ‘New York University’ and an illustration of the Hall of

Fame, albeit it will serve as ornamentation on a T-shirt will also advise the

purchaser that the university is the secondary source of the shirt. It is not

imaginable that Columbia University will be the source of an N.Y.U. T-

shirt. Where the shirt is distributed by other than the university, the

university's name on the shirt will indicate the sponsorship or

authorization by the university . . . In the case before us, the T-shirt is

ornamented with applicant's trademarks, and considering the nature of T-

shirts, that particular ornamentation can serve as an indication of a

secondary source of origin. The manner sought to be registered is an

arbitrary symbol and can and does function as a trademark. As used on the

T-shirts, we conclude that the mark serves as an identifier of a secondary

source and as such is registrable. " /d.

See also In re McDonald's Corp., 199 U.S.P.Q. 702 (T.T.A.B. 1978) (McDONALD'S
and "Golden Arches" registered for clothing); Jn re Snap-On Tools Corp., 159 U.S.P.Q.
254 (T.T.A.B. 1968) (SNAP-ON mark for tools registered for promotional pens and
pencils).

To show that a proposed mark that is used in an ornamental manner also serves a
secondary source-identifying function, an applicant seeking a trademark registration must
show the following: (1) ownership of a U.S. registration on the Principal Register of the

- same mark for other goods or services based on use in commerce under §1 of the
Trademark Act; (2) non-ornamental use of the mark in commerce on other goods or

services; or (3) ownership of a pending use-based application for the same mark, used in

a non-ornamental manner, for other goods or services. TMEP §1202.03(c) (emphasis

added). Based on the foregoing, it is without legal dispute that Building Champions has
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every right to register "KENTUCKY COLONELS LOUISVILLE (Stylized Design)
(App. No. 78433951)" (the "Design Mark") for apparel and other novelty items where
such use of the mark serves a secondary source-identifying function. This is simply a,
"recognition of today's commercial realties." See In Re Paramount Pictures Corporation
217 U.S.P.Q. 292, 293 (T.T.A.B. 1983) (Refusal to register Applicant's "STAR TREK”
mark for towels, sheets, pillow cases and comforters reversed. "It is clear that [STAR
TREK] performs a trademark function and is recognizable as such to the extent that the
public would associate articles on which it appears as having a common origin. We see
no reason that its appearance on the goods in applicant's instant application would not
evoke the same association as its use on other goods... ." /d.).

1. Building Champions’ Use of the Design Mark on T-Shirts and Novelty
Items is an Indication of Secondary Source.

Despite Plaintiff's repeated attempts to divert the Court's attention away from the
secondary source doctrine,’ secondary source identification is the whole point of this
dispute. The evidence unquestionably shows that the mark used by Building Champions
on the disputed merchandise is none other than the Design Mark. [See Transcript from
the Preliminary Hearing, dated August 30, 2004, pages 129-133, 151-152 and 155-160. ]

As the evidentiary record shows, the Design Mark as used by Building Champions on
merchandise consists of a distinct design element that includes the prominent use of a
basketball design in the red, white and blue colors of the American Basketball

Association. /d. Unless someone has been living on another planet for the last century,

? Plaintiff originally referred to Building Champions’ secondary source argument as a “red herring,” and "a
novel proposition" “frivolous on its face and completely unsupported.” [See Plaintiffs Supplemental
Memorandum, page 8.] In addition, Plaintiff boldly and incorrectly asserted that Defendant cited no
authority for "this novel proposition .. . because there is none." /d. Plaintiff's misrepresentations of well-
established trademark law are troubling to say the least.

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no one will think that a T-shirt (or any other novelty item) bearing the Design Mark is
associated with anyone other than Building Champions. This is virtually impossible.

Building Champions not only has a legal right to register its Design Mark under
the secondary source doctrine of trademark law, it is also without question that the
Design Mark is not likely to cause confusion with the Honorable Order's use of the
“KENTUCKY COLONELS” term on apparel and related novelty items. Plaintiff is
apparently wedded to the notion that it has exclusively appropriated certain classes of
goods by registering the term “KENTUCKY COLONELS” in those classes. Plaintiff's
position is misguided, The U.S. Patent and Trademark Office (“USPTO”) classification
system was established for purposes of administrative convenience only. 15 U.S.C.
§1112 (2003). The classification system is not determinative of a likelihood of confusion.
See National Football League v. Jasper Alliance Corporation, 16 US.P.Q.2d 1212
(T.T.A.B. 1990). Plaintiff's position that Building Champions cannot register or use its
Design Mark for goods in the same category is also flat-out wrong.

Plaintiff 's counsel stated that he would, "bet most of what I have that the Patent
and Trademark Office would never, ever register that logo for any of the goods for which
we are using the mark." [See Transcript from the Preliminary Hearing, dated August 30,
2004, page 183.] This is a losing bet based merely on conjecture instead of sound
trademark law. The USPTO has already registered marks in very similar fact scenarios
as the matter at hand and the Trademark Trial and Appeal Board has ruled in such
instances that there is no likelihood of confusion. Consider, for example, Sharkskins Surf
Gear, Inc. v. San Jose Sharks, 1996 TTAB LEXIS 45. In this case, the San Jose Sharks

("Applicant"), a National Hockey League expansion team, filed trademark applications to
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register a certain shark design mark in connection with hockey services (in class 41) and
related apparel and team merchandise (in class 25). Sharkskins Surf Gear, Inc.
("Opposer"), a clothing manufacturer, filed an opposition against the hockey team's
applications on the basis that the team's use of its mark would cause confusion with its
own shark design mark already registered for the same goods in class 25. The TTAB, in
dismissing the oppositions, determined that even though the goods of the parties are
"legally identical," the marks of the parties, "are not so similar, when they are considered
in their entireties, that confusion is likely." Jd. at 19. In fact, even though the Applicant's
mark contained no wording’, "... the connection to the sport of hockey is clearly
. represented by the hockey stick clenched between the exaggerated teeth of the animal.

Applicant's mark unequivocally relates to hockey, but it does so graphically, without any
wording." /d. at 23. The same must be true where Building Champions distinguishes its
mark by the very obvious red, white and blue design of a basketball. It is unnecessary
that the word, "BASKETBALL" does not appear. The basketball design itself is enough
to distinguish team merchandise from the same merchandise sold by the Honorable
Order. As the Administrative Trademark Judges rightly stated:

"... fans or others who closely follow professional

hockey and who, as a result of applicant's extensive sales and

promotional efforts, want t-shirts showing support for the San

Jose Sharks hockey team, will recognize applicant's logo and

look for shirts showing a shark and a hockey stick. There is

little chance that these purchasers will select opposer's shirts.

... Even someone who is personally unfamiliar with the team's

logo, if he wants to purchase a shirt indicating support for the

team, either for himself or as a gift for someone else, would

likely expect the mark on such goods to make at least some
reference to hockey."

? Tt should be noted further that other word marks and combination word/design marks for "SHARKS" have
been registered by the San Jose Sharks in the same clothing categories outside of this TTAB decision. See,
e.g., Reg. Nos. 2718724 and 1769354.
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Id. at 28. The TTAB in this case has clearly stated the obvious.

2. The Honorable Order’s Use of the “KENTUCKY COLONELS” Mark
is also an Indication of Secondary Source.

Plaintiff has argued two positions on the issue of the goodwill relating to its use of
the “KENTUCKY COLONELS” term on clothing and related goods. On one hand,
Plaintiff argues that it is now in the for-profit business of branded clothing manufacture.
On the other hand, Plaintiff repeatedly acknowledges that the goodwill relating to the sale
of its merchandise stems back to the mission and services of the Honorable Order. There
is no reliable evidence of the former. There is ample evidence of the latter. Just as
Building Champions makes secondary use of its house mark on merchandise related to its
basketball team, the Honorable Order makes secondary use of its house mark on
merchandise related to its charitable mission. By its own admission, the Honorable Order
is using the mark “KENTUCKY COLONELS” in a secondary source identifying
function. The Honorable Order has specifically stated,

“. . the Trademark Trial and Appeal Board determined that the mark

MORK & MINDY was registerable for decals because the mark was not

mere ornamentation, but rather an indicator of source (ie, the television

series). Such is the case here. The KENTUCKY COLONELS mark as

used on The Honorable Order’s merchandise clearly has a source-

identifying function; it is not ‘mere ornamentation’ such as, for example,

the popular phrase ‘HAVE A NICE DAY’.” [See Plaintiff's Supplemental

Memorandum, Page 3.]

_ In addition, Plaintiff stated that, “The record demonstrates that the Honorable Order, in
an effort to increase the funds available to it for charitable distribution, began using
KENTUCKY COLONELS as a trademark for a wide variety of merchandise, at least as
early as October 21, 2002.” [See Plaintiff's Supplemental Memorandum, Page 2.]

. Moreover, the Honorable Order stated that it is using the mark “KENTUCKY
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COLONELS” in connection with such items to, “support the Honorable Order’s
charitable interests.” [See Plaintiff's Memorandum, Footnote 1, page 9].

Plaintiff has not, and cannot, demonstrate any use of the “KENTUCKY
COLONELS” trademark in the novelty product categories that is disconnected from the
primary meaning of the public domain term in its original context. As pointed out at the
preliminary hearing, the specimens of use submitted with the Honorable Order's 2004
Class 25 trademark application, together with the Honorable Order's current use of the
"Kentucky Colonels" term on merchandise, clearly evidence the ornamental, secondary
source function of the term. [See Transcript from the Preliminary Hearing, dated August
30, 2004, pages 18-21, 80 and 116-117.] The Honorable Order has shown no evidence of
trademark use of “KENTUCKY COLONELS” establishing a source of goodwill that is
distinct from its primary services and/or attached solely to the novelty products. The
ornamental use of the “KENTUCKY COLONELS” term on novelty merchandise creates
a secondary source association in the mind of the public. The association between the
Honorable Order's use of “KENTUCKY COLONELS?” for its charitable services and its
use of “KENTUCKY COLONELS” on novelty merchandise that supports the services is
the same to the public. Since the “KENTUCKY COLONELS” element of the
“HONORABLE ORDER OF KENTUCKY COLONELS” mark is generic, such term is
also generic for use on promotional merchandise, such as hats and shirts, where the term
relates back to its secondary source.

B. Genericness

“When assessing its strength, a court will place a trademark into one of four

categories: generic, descriptive, suggestive, and fanciful.” Daddy’s Junky Music Stores,
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Inc., 109 F.3d at 280. “If amark’s primary significance is to describe a type of product
rather than the producers, it is generic and is not a valid trademark.” Nartron
Corporation v. Stmicroelectronics, Inc., 305 F.3d 397, 404 (6 Cir, 2002). Since the
Honorable Order uses the mark “KENTUCKY COLONELS” to signify that which it is,
i.e., a person appointed a “Kentucky Colonel,” such use is generic and not entitled to
trademark protection.

1. General Information on Generic Terms.

It is a fundamental principal of trademark law that a generic term can never
function as a trademark. See Nartron Corporation v. Stmicroelectronics, Inc., 305 F.3d
397 (6" Cir. 2002) (Court held the term “SMART POWER” in the semiconductor
industry to be a generic term because it defines a type of technology that those in the
semiconductor industry develop and market.) There is no shield of protection for a
mark, even a registered mark which is incontestable, if found to be generic. The Sixth
Circuit has noted that the, “appropriate test for genericness is whether the relevant public
perceives the term primarily as the designation of the article.” fd. Building Champions
acknowledges that Plaintiff has a valid registration for the mark HONORABLE ORDER
OF KENTUCKY COLONELS as a whole. However, the “KENTUCKY COLONELS”
element of this mark is not protectible apart from the mark as a whole because the term as
used by the Honorable Order is generic and not a trademark at ail.

“A proposed mark cannot acquire trademark protection unless the mark is
distinctive, that is, unless it serves the traditional trademark functions of distinguishing
the applicant’s goods from those of others and identifying the source of the goods. The

antithesis of a distinctive mark is a ‘generic’ mark which merely employs the common
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name of a product or service or refers to the genus of which the particular product is a
species.” Retail Services, Inc. v. Freebies Publishing, 364 F.3d 535, 538 4" Cir. 2004).
The “HONORABLE ORDER OF KENTUCKY COLONELS” mark merely incorporates
“KENTUCKY COLONELS” as a generic term. In this instance, the element
“KENTUCKY COLONELS” describes a type of person, i.e., a colonel. Therefore, the
phrase “KENTUCKY COLONELS” is generic. “Because a generic mark, by definition,
neither signifies the source of goods nor distinguishes the particular product from other
products on the market, a generic term cannot be protected as a trademark or registered as
one.” fd. at 538. For example, the mark APPLE used in connection with an apple is
generic while the mark APPLE in connection with a computer is not generic. The
Honorable Order uses the mark “KENTUCKY COLONELS” to signify a person
appointed by the Governor as a “Kentucky Colonel.”

2. Examples of Generic Terms.

The Veterans of Foreign Wars Foundation has a trademark registration to protect
its services.’ The VFW Foundation cannot, however, take the word “VETERANS” from
its registered mark and seek trademark protection for just the word “VETERANS.” The
term “VETERANS” as used by the VFW Foundation is generic and not entitled to
trademark protection and the VF W Foundation cannot seek to stop others from using the
generic phrase for its primary definition, even in connection with T-shirts and other
novelty items. This point is illustrated in a federal case out of the D.C. Circuit.

Blinded Veterans Association v. Blinded American Veterans Foundation, 872
F.2d 1035 (D.C. Cir. 1989) involved a case in which the Blinded Veterans Association

(“BVA”) sought to enjoin the Blinded American Veterans Foundation (the “Foundation’’)

* See Reg. Nos. 2,306,415 and 2,350,501.

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from using its trademark and any name which included the terms “veterans,” “blind” or
“blinded.” The court determined that the term “BLINDED VETERANS” was generic
because it was used, “to denote formerly sighted former warriors.” Jd. at 1041. It is clear
then that “KENTUCKY COLONELS” is also generic as used by the Honorable Order to
denote honorary colonels of Kentucky appointed as such by the Governor of the
Commonwealth.
While BVA did not have a trademark registration for the mark “BLINDED

VETERANS,” a registration merely shifts the burden of proof as set forth in more detail

_ below. The BVA court noted that, “a generic term is one commonly used to denote a
product or other item or entity, one that indicates the thing itself, rather than any
particular feature or exemplification of it.” Id. at 1039. Moreover, the court noted that,
“because a generic term denotes the thing itself, it cannot be appropriated by one party
from the public domain; it therefore is not afforded trademark protection even if it
becomes associated with only one source.” Jd. The Governor has appointed “Kentucky
Colonels” since the early 1800’s. The Honorable Order was formed in the 1930’s as an
organization of certain “Kentucky Colonels” previously appointed by the Governor. The

- Honorable Order neither appoints “Kentucky Colonels” nor is involved in the selection
process, The term “KENTUCKY COLONELS” has been used by the Commonwealth
for nearly 200 years and is still used by the Commonwealth today. Try as it might, there
is nothing that the Honorable Order can do to take the generic use of the term

' “KENTUCKY COLONELS?” from the public domain.

The BVA court further noted that it accepted the general principal that, “words

which could not individually become a trademark may become one when taken together”

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nevertheless, the combination of the terms “blinded” and “veterans” remained generic.
Id. at 1041. As for Plaintiff's argument that the term “KENTUCKY COLONELS” does
not identify the person because the person is actually a man or a woman, such argument
is without merit. Courts have reasoned that, “a term need not be the sole designation of
an article in order to be generic, the test for genericness is whether the public perceives
the term primarily as the designation of the article” and “BLINDED VETERANS?” fit
that test. /d. at 1041. The court noted that, “it is difficult to imagine another term of
reasonable conciseness and clarity by which the public refers to former members of the
armed forces who have lost their vision.” /d. Likewise, there is no other term by which
to refer to an appointee of the Governor as a “Kentucky Colonel” other than the term
“KENTUCKY COLONEL.” The court further clarified its position by stating:

“Just as ‘blinded’ would be generic when used with ‘the blinded persons

association’ or ‘veterans’ with ‘the veterans association,’ so ‘blinded

veterans’ is generic when used to refer to once-sighted persons who served

in the armed forces. Separately or together, the terms denote particular

types of individuals; ‘blinded veterans’ simply designates the twice-

circumscribed category of people who are both blinded and veterans.” Jd.

at 1041.

Such is the case here. The term “KENTUCKY COLONELS” as used in the
Honorable Order’s mark denotes a type of individual, i.e. an individual who was
appointed by the Governor as a “Kentucky Colonel.” The phrase “KENTUCKY
COLONELS” merely denotes the particular category of people who were given the
appointment by the Governor. Since the Governor or the Governor’s Office is the only
entity which may appoint a “Kentucky Colonel,” the term has been in the public domain

since around 1813. As noted above, “because a generic term denotes the thing itself, it

cannot be appropriated by one party from the public domain; it therefore is not afforded

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trademark protection even if it becomes associated with only one source.” /d. at 1039. In
the case at hand, the term “KENTUCKY COLONELS?” is not associated with only one
source. The term was originally used by and continues to be used by the Governor and
the Commonwealth of Kentucky.

Plaintiff has argued that since it has obtained a trademark registration for the mark
“KENTUCKY COLONELS,” such mark is necessarily not generic. However, as set
forth in more detail in Section B.4 below, a registration merely shifts the initial burden
but not the ultimate burden. Further, as demonstrated in the following decisions, just
because a mark was registered by the USPTO this does not mean that the mark is not
generic. In fact, as some of the following examples illustrate, even incontestable marks
can be deemed to be generic. In Haughton Elevator Company v. Seeberger, 85 U.S.P.Q.
80 (1950), the mark “ESCALATOR” was deemed generic because it was recognized by
the public as the name for a moving staircase and not the source of the product therefore,
the Registration No. 34,724 which was issued in 1900 was cancelled. Jn re Association
of Energy Engineers, Inc., 227 U.S.P.Q. 76 (T.T.A.B. 1985), the Board refused
registration of the mark “ASSOCIATION OF ENERGY ENGINEERS” because the —
mark was deemed generic for an organization of engineers specializing in the field of

_ energy. In Retail Services, Inc. v. Freebies Publishing, 364 F.3d 535 (4™ Cir. 2004), the
court held that the registered mark “FREEBIES,” an incontestable registration, was
generic and not entitled to trademark protection.

3. Evidence of Genericness.

The Sixth Circuit has noted that, “in deciding genericness, evidence of the

relevant public’s understanding of a term may be obtained from any competent source.”

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Nartron Corporation, 305 F.3d at 406. Those sources include dictionary definitions,
newspapers, publications, generic use by competitors, generic use by the Honorable
Order, and use of the term by others in trademark registrations. Jd.

The following examples illustrate instances in which the Honorable Order has
used the phrase “KENTUCKY COLONELS” as a generic term. At the preliminary
injunction hearing, Mr. Bastin, Plaintiff's Chief Operating Officer, testified about use of
the phrase “KENTUCKY COLONEL” by the Honorable Order where the term was used
to refer to a particular individual:

16 Q. I'm going to ask you to read the second page of the

17 membership card. I would like you to read the language I
18 circled there.

19 A. "Dear Kentucky Colonel.” It's written to a specific

20 individual. It was addressed to a specific individual.

21 Q. So it's used to identify a person, right?

22 A. This particular occasion, yes.

{See Transcript from the Preliminary Hearing, dated August 30, 2004, page 104.]

In addition, the Honorable Order’s own mission statement on its Web site
specifically provides the following: (1) “The Honorable Order does not appoint Kentucky
Colonels;” and (2) “Membership is open to anyone who has been commissioned as a
Kentucky Colonel.” [See Defendant’s Memorandum, Exhibit O.] In each instance noted
above, the Honorable Order is using the phrase “KENTUCKY COLONEL” as a generic
term, 1.e., the individual who has been appointed a “Kentucky Colonel” by the Governor
of the Commonwealth. These appointments occurred prior to and after the establishment

_ of the Honorable Order. The original use of the term “KENTUCKY COLONEL” did not

originate with the Honorable Order but instead with the Governor. The term is directly

associated with the Commonwealth of Kentucky. Thus, the term “KENTUCKY

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COLONEL” refers to many individuals who are not associated with or even members of
the Honorable Order, as conceded by Mr. Bastin:
24 Q. Okay. Not all Kentucky Colonels are members of the
25 Honorable Order of Kentucky Colonels, right?
1 A. That is a fair presumption.
[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 102-
103.]
For all of the foregoing reasons, the term “KENTUCKY COLONELS” is most

certainly generic as used by the Honorable Order.

4. The Ultimate Burden of Proof Rests with the Honorable Order.

Even though the Honorable Order has obtained a trademark registration, such a
registration does not protect a mark from being generic. Even an incontestable trademark
registration does not protect a mark from challenge on a claim that it is generic. See
Nartron Corporation v. Stmicroelectronics, Inc., 305 F.3d 397 (6" Cir. 2002). While the
Honorable Order’s registration does create a presumption of validity, such presumption is
rebuttable and does not preclude Building Champions from demonstrating that the mark
is generic. When a mark is federally registered, “there is a presumption that the term is
non-generic and the defendant bears the burden of overcoming this presumption.”
Nartron Corporation, 305 F.3d at 405. However, “this presumption is easily overcome
upon a showing that a mark is merely descriptive of the type of services offered by the
mark holder.” Ashland Oil Company, Inc. v. Olymco, Inc., 905 F.Supp. 409, 412 (W.D.
Ky. 1994) (The court cancelled the registration for the mark “INSTANT OIL CHANGE”
on the Principal Register because the mark was deemed to be a descriptive phrase not

entitled to trademark protection which others could not be precluded from using.)

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Registration on the Principal Register does not shift the ultimate burden of proof.
“A mark’s challenger bears the burden of going forward with evidence to meet or rebut
the presumption. The ultimate burden of proving mark validity rests. with the registrant.”
Ashland Oil, 905 F.Supp. at 412. As set forth herein, Building Champions has produced
evidence that the mark “KENTUCKY COLONELS” as used by the Honorable Order is
generic. Therefore, the ultimate burden of proof rests with the Honorable Order to prove
the validity of its mark.

C. Building Champions’ Design Mark is Not Likely to Cause Confusion

Even if the Honorable Order’s mark is not generic, to prevail on its trademark
infringement claims, the Honorable Order must prove that there exists a likelihood of
confusion based upon an analysis of the Sixth Circuit factors set forth in Daddy ’s Junky
Music Stores, Inc. v. Big Daddy’s Family Music Ctr., 109 F.3d 275 (6™ Cir. 1997).
However, not one of the Sixth Circuit factors weighs in favor of the Honorable Order. To
prevail on its trademark infringement claims, the Honorable Order must prove that the
disputed mark is likely to cause confusion among consumers regarding the origin of the
goods offered by the parties. Daddy's Junky Music Stores, Inc., 109 F.3d at 280
(emphasis added). Therefore, the Honorable Order must demonstrate that when the
public views the Design Mark on merchandise that the public associates that mark with
the Honorable Order. The Design Mark is clearly not likely to cause confusion.

Plaintiff has asserted that there is no case law which supports the contention that
both parties can use similar and/or identical marks in connection with clothing items and

related merchandise. Plaintiff's assertion is wholly without merit. By way of example,

the following is a summary of various cases in which courts have held that identical

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marks can be used on the same goods, such as clothing items, without resulting in a
likelihood of confusion:

In Michael Caruso & Co., Inc. v. Estefan Enterprises, Inc., 994 F. Supp. 1454
(S.D. Fla. 1998), the court found no likelihood of confusion where a clothing
manufacturer with an incontestable trademark registration for “BONGO” in connection
with clothing brought an action against a restaurant which used “BONGO” in connection
with its café and related merchandise, such as shirts. Plaintiff attempted to argue that
since both marks were applied to clothing that there was an overlap in goods and
services. However, the court noted that, “the mere fact that Defendants sell some
clothing items and Plaintiff specializes in retail appare! does not establish proximity of
the goods for the purposes of likelihood of confusion.” /d. at 1461. Further, the court
recognized that, “people are accustomed to clothing items that refer to services and
establishments. Consumers are able to establish the difference between clothing with
brand labels on them (i.e. “Guess?” jeans) and clothing sold as souvenirs from
commercial establishments (i.e. “Plant Hollywood” T-shirts).” Jd.

Sunilarly, Building Champions and the Honorable Order are not in the same
business. Mr. Bastin, the Honorable Order’s Chief Operating Officer, has testified that
the mission of the Honorable Order is charitable in nature:

18 Q. If you would, please describe for the Court the mission of

19 the Kentucky Colonels.

20 A. Well, again, we have several. We indeed are ambassadors
21 of goodwill. I get frequent calls and requests for the

22 Honorable Order of Kentucky Colonels to participate in some
23 event that is somewhat related to the state. But our basic

24 mission, if you will, and this dates back to the original

25 organization being put together in 1931, is to serve a

1 charitable function, to take the resources that our members
2 provide for us, to find needy organizations, needy people,

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3 educational concerns as well as charitable concerns, and to do
4 our best to assist them. Oo

[See Transcript from the Preliminary Hearing, dated August 30, 2004, pages 31 — 32.]
Consumers are able to distinguish that Building Champions’ apparel bearing the Design
Mark relates to the basketball team. Even if Plaintiff argues that it is now in the business
of retail clothing,° the retail clothing business and entertainment services related to
basketball games and exhibitions are vastly different. Therefore, as was the case in
Michael Caruso, there is no likelihood of confusion.

In Sunenblick v. Harrell, 895 F. Supp. 616 (S.D. N.Y. 1995), the court concluded
that there was no likelihood of consumer confusion as to the source of plaintiffs
products, where plaintiff operated an independent jazz record company and sold records
under the label “UPTOWN RECORDS” and defendant sold rap records under the label
“UPTOWN RECORDS,” even though such records were sold in the same stores and
applied to the same goods. While plaintiff's mark was registered with the State of New
York, the mark was not federally registered. However, the court did find that the mark
was suggestive and therefore entitled to trademark protection without proof of secondary
meaning. Despite such protection, the court found no likelihood of confusion existed.
As illustrated in Sunenblick, even if the Honorable Order and Building Champions use
variations of the element “KENTUCKY COLONELS” on identical products sold in the
same stores, such circumstances do not necessarily result in a likelihood of confusion.

See also Captain Tony’s Pizza, Inc. v. Domino’s Pizza, Inc., 1992 WL 218673
(W.D. N.Y. 1992) (Court found use of the phrase “ANY WAY YOU WANT IT” in

connection with Domino’s national pizza ad campaign created no confusion as to source

° This argument is highly suspect coming from an organization committed to charitable services.

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even though Captain Tony’s Pizza owned a federal registration for the service mark
“ANY WAY YOU WANT IT” in connection with restaurant services, namely take-out
and dine in of Italian-American food); J & J Snack Foods, Corp. v. Earthgrains Co., 220
F. Supp.2d 358 (S. N.J. 2002) (Court found no likelihood of confusion between plaintiff s
registered mark “BREAK & BAKE” in connection with pre-formed cookie dough when a
competitor used the same mark on similar products); Becoming, Inc. v. Avon Products,
Inc., 2001 WL 930794 (S.D.N.Y. 2001) (Court found no likelihood of confusion between
the parties’ respective uses of the mark “BECOMING” in connection with certain beauty
products); and Worthington Foods, Inc. v. Kellogg Company, 732 F. Supp. 1417 (S.D.
Ohio 1990)(Court found no likelihood of confusion between the parties’ respective uses
of the mark “HEARTWISE” in connection with breakfast foods).

Clearly, Plaintiff's contention that no case law exists to support the position that
identical marks can be used on identical goods without confusion is plainly wrong.
Moreover, the marks in question in this case are not identical. The Honorable Order has
a trademark registration for the word mark “KENTUCKY COLONELS.” Building
Champions uses the Design Mark in connection with its merchandise. The parties’ marks
are not identical.

The Sixth Circuit has identified the following eight factors which must be
examined and weighed to determine a likelihood of confusion: (1) strength of Plaintiff's
mark; (2) relatedness of the goods or services; (3) similarity of the marks; (4) evidence of
actual confusion; (5) marketing channels used; (6) likely degree of purchaser care; (7) the
intent of Defendant in selecting the mark; and (8) likelihood of expansion of the product

lines. Daddy's Junky Music Stores, 109 F.3d at 280. While these factors need not be

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applied with mathematical precision, “a thorough and analytical treatment must
nevertheless be attempted.” Daddy’s Junky Music Stores, 109 F.3d at 280. Based upon
an analysis of the Sixth Circuit factors, it is clear that there are insufficient grounds upon
which to base a determination that there exists a likelihood of confusion by Building
Champions’ use of the Design Mark.

1. Strenpth of Plaintiff's Mark.

The Sixth Circuit has noted that the “strength of a mark is a determination of the
mark’s distinctiveness and degree of recognition in the marketplace.” Homeowner's
Group v. Home Marketing Specialists, 931 F.2d 1100, 1107 (6" Cir..1991). Plaintiff's
mark is extremely weak and any recognition of the mark appears to be limited to a
narrow universe. As a matter of fact, at the preliminary hearing, Mr. Jim Lindsey
testified that in a 1998 marketing plan prepared for the Honorable Order, he discovered,
“from the research that our [the Honorable Order’s] communication was not very good.
People really didn't understand clearly what we [the Honorable Order] did and how much
money we gave away and why we gave it away. So we changed all of our
communication tools completely.” [See Transcript from the Preliminary Hearing, dated
August 30, 2004, lines 24 - 25 on page 139 and lines 1-3 on page 140.] The Honorable
Order’s head of the Marketing Committee clearly admits that even as late as 1998,
citizens of the Commonwealth were not familiar with the Honorable Order and its
mission. Therefore, the Honorable Order’s claim that it has acquired widespread
recognition of the term “KENTUCKY COLONELS” is ambitious at best.

Further, Plaintiff cited Bridgestone Tire Co. v. Bridgestone Trading Co., 221

U.S.P.Q. 1012 (T.T.A.B. 1984) in its Supplemental Memorandum for the proposition that

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famous marks are afforded a higher degree of protection. Plaintiff referenced such marks
as BRIDGESTONE, HARLEY-DAVIDSON, COCA-COLA, FIRESTONE, and
GOODYEAR. All of these marks are famous marks. Comparing such famous marks to
the “KENTUCKY COLONELS” mark is a giant leap. As set forth above, the Honorable
Order’s use of the mark “KENTUCKY COLONELS” is generic or at best merely
descriptive and is therefore not entitled to any protection, much less the protection
trademark law affords to famous marks.

2. Relatedness of the Goods.

As previously noted, the parties are not competitors by any stretch of the
imagination. The Honorable Order is a non-profit organization that distributes grants to
needy organizations and educational institutions. Building Champions owns the
American Basketball Association’s new Louisville basketball team. The services of the
two parties are not even remotely similar. Both parties’ use variations of the mark
“KENTUCKY COLONELS” in connection with promotional and souvenir items which
relate directly back to the parties’ primary businesses. Due to the inherent differences in
the services provided by the Honorable Order and Building Champions, a prospective
purchaser is not going to believe that the items sold by Building Champions relate to the
charitable activities of the Honorable Order. Relatedness does not mean that there is
necessarily a physical relationship between the goods or services identified by the marks,
it means that the marks are related in the minds of the purchasing public in the sense that

buyers will believe that the products emanate from the same source.

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3. Similarity of the Marks.

Much has been said that the marks used by the parties are identical. However, that
is manifestly untrue. The marks as used by the parties in connection with the novelty
items are not identical. In connection with its merchandise, Building Champions only

uses the following mark in red, white and blue colors:

This stylized mark is not identical or in any way confusingly similar to the Honorable
Order’s use of the word mark “KENTUCKY COLONELS.” When analyzing similarity,
“courts must view marks in their entirety and focus on their overall impressions, not
individual features.” Daddy’s Junky Music Stores, 109 F.3d at 283.

Further, courts have noted that when trademarks include similar terms, “the
question of likelihood of confusion entails consideration of the entire marks, where and
how those marks are used and whether or not there are other distinguishing aspects, such
as accompanying logos.” Basic American Medical, Inc. v. American Medical
International, Inc., 649 F. Supp. 885, 891 (S.D. Ind. 1986); citing James Burrough Ltd. v.
Lesher, 309 F. Supp. 1154 (S.D. Ind. 1969) and In re EL. du Pont de Nemours & Co.,
476 F.2d 1357 (CCPA 1973). In Basic American Medical, the court found no likelihood
of confusion between the use of the marks AMERICAN MEDICAL INTERNATIONAL
and Design and BASIC AMERICAN MEDICAL and Design because when considered

in their entirety, the marks as used by the parties incorporated logos which sufficiently

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distinguished the marks. Similarly, the distinct nature of the Design Mark, which
incorporates a basketball, a stylized design and the red, white and blue colors of the
ABA, signifies to the consumer that the merchandise directly relates to the basketball
team and not the Honorable Order. As noted by the court in the Harlem Wizards case,
the “use of a design as part of a mark minimizes any likelihood of confusion.” Harlem
Wizards Entertainment Basketball v. NBA Properties, 952 F Supp. 1084, 1094 (N.J.
1997).

Plaintiff has cited Allstate Ins. Co. v. Delibro, 6 U.S.P.Q. 1220 (T.T.A.B. 1988)
for the proposition that as between a design and word mark, the word portion is
dominant. As noted in Al/state Ins. Co., “although marks must be judged in the final
analysis, in their entireties, it is nonetheless true that more or less weight may be given to
a particular feature of a mark.” Allstate Ins. Co., 6 U.S.P.Q. at 1223. While the word
portion of a mark may be dominant, that does not mean that the overall impression of the
mark is not considered. As noted by the Allstate court, marks must be judged in their
entireties. Therefore, Building Champions’ marks must be considered in its entirety (i.e.

_ the distinctive colors and the basketball image). Moreover, as pointed out by the
Honorable Order, if the word portion of the mark is dominant, and Building Champions’
use of the mark includes the word “LOUISVILLE,” then considerable weight should be
given to Building Champions’ addition of the word “LOUISVILLE.”

Further, Plaintiff cited Jn re Pedro Ruiz-Tagle Decombe, 1988 WL 252674
(T.T.A.B. 1988) for the proposition that little weight should be given to nondistinctive
design elements. However, Jn re Pedro Ruiz-Tagle Decombe involved a mark which

included the design element which was a stylized “V.” Surely, Plaintiff is not equating

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the image of a red, white and blue basketball together with an all-star design with an
image of a simple stylized letter. Use of the image of a basketball further serves to
indicate the secondary source of the merchandise, i.e., the basketball team. Plaintiff's
reliance on this case is clearly distinguishable from the matter at hand.

Plaintiff also relies upon /nternational Kennel Club of Chicago, Inc. v. Mighty

Star, Inc., 846 F.2d 1079 (7th Cir. 1988) for the proposition that the addition of elements
to a protected mark will not eliminate the likelihood of confusion. The court in
International Kennel Club of Chicago found that the similarity of the marks
“INTERNATIONAL KENNEL CLUB” and “INTERNATIONAL KENNEL CLUB OF
CHICAGO” weighed in favor of plaintiff. However, this case is clearly distinguishable
as well. In International Kennel Club of Chicago, the infringer was using the mark
“INTERNATIONAL KENNEL CLUB OF CHICAGO” in connection with toy pedigree
dogs. The senior user used the mark “INTERNATIONAL KENNEL CLUB?” in
connection with the sport of showing pure breed dogs. The infringer attempted to
distinguish its mark by adding the phrase “OF CHICAGO” which the court noted was
frequently omitted by the infringer in its use of the mark. Further, the design element of
the infringer’s mark was a wolfhound head logo. Such logo implicitly indicated that the
mark pertained to dogs, which could be toy dogs or dog shows. Therefore, use of the
design element did not help to distinguish the marks as they were used in commerce.
This is completely different from the case at hand. Building Champions has continuously
used the Design Mark, with its distinctive coloring, its basketball design and

_ incorporation of the entire phrase “KENTUCKY COLONELS LOUISVILLE.” Unlike

International Kennel Club of Chicago where the infringer used a desi gn element which

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could relate to either party, Building Champions’ use of the basketball design element
clearly distinguishes the merchandise from that of the Honorable Order. The Honorable
Order is not in the business of providing entertainment services, namely, basketball
games and exhibitions.

Further, Mr. Dickerson, Marketing Director for Building Champions, testified that
Building Champions will never use just the phrase “KENTUCKY COLONELS” on its
merchandise:

9 Q. Mr. Dickerson, would you ever use just the term "Kentucky
10 Colonels" in connection with merchandise?
11 A. Absolutely not.
12 Q. Why not?
13. A. Because we are a basketball team. We need to brand that
14 identity. The only way of doing so is by incorporating the
15 basketball as well as our team name into that merchandise.
16 There's also a lot of other uses of the term "Kentucky
17 Colonels," so we need to find a way to differentiate
18 ourselves.

[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 156.]

23 Q. Ifsomeone sees a shirt walking down the street with

24 "Kentucky Colonels" on it, they are not going to know that it

25 was purchased at kentuckycolonelsbasketball.com, are they?
1 A. Ifitjust says "Kentucky Colonels," then you wouldn't

have bought that from our web site anyway. We don't seil

merchandise that just says --

Q. Please just try to answer the question. They are not

going to know where that shirt was purchased, are they?

A. They wouldn't have purchased it from us because we don't

sell merchandise like that.

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[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 164-
165.]
Plaintiff also relied upon Appleseed Foundation Inc. v. Appleseed Institute, Inc.,

981 F. Supp. 672 (D.D.C. 1997) in which the court found that adding the term

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“JOHNNY” to “APPLESEED” did not distinguish two non-profit organizations -
Appleseed Foundation, Inc. and Appleseed Institute. In reaching its decision, the
Appleseed court noted that the terms “JOHNNY APPLESEED” and “APPLESEED”
conjured up the same images and found the minor name change did not overcome the
similarities between the marks. However, this case is clearly distinguishable as well.
Building Champions’ use of the Design Mark is substantially different from the
Honorable Order’s mark in overall impression.

In designing the mark to be used on merchandise, Ms. Roach specifically testified
that she sought to incorporate distinct imagery in Building Champions’ mark in order to
associate the mark with its basketball services:

11 Q. Can you please describe the basketball logo?
12 A. Yeah. It's just a red, white and blue logo that says
13. "Kentucky Colonels Louisville," and it has the ABA signature
14 red, white and blue basketball almost shooting around it with
15 some shooting stars.
16 Q. Why did you select the current design element of the
17 basketball logo?

18 A. Wechose the colors red, white and blue obviously so we
19 could try to unite the UK fans along with the U of L fans
20 because we hoped to have both players who represented those
21 schools at one time on our team. We chose the red, white and
22 blue for those reasons as well as that that's the ABA
23 signature color for the basketball.
24 Q. So the red represented the Louisville team, the blue
25 represented Kentucky, and the red, white and blue represents
1 the ABA?

2 A. Correct.

[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 178-179.]
As demonstrated above, Building Champions solely intends for its merchandising
mark to be associated with basketball services. The current Design Mark as used by

_ Building Champions clearly accomplishes that goal. When considered in its entirety,

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Building Champions’ mark quite obviously creates a substantially different commercial
impression than that conveyed by the Honorable Order’s mark.

In addition, as noted above, the Honorable Order often incorporates secondary
source identifying imagery in connection with its use of the “KENTUCKY COLONELS”
mark on novelty items, such as the seal of the Commonwealth of Kentucky. This use of
the mark by the Honorable Order further distinguishes the parties’ goods and services.

4. Evidence of Actual Confusion.

The Sixth Circuit has recognized that, “evidence of actual confusion is
undoubtedly the best evidence of likelihood of confusion.” Daddy’s Junky Music Stores,
109 F.3d at 284. There is no evidence of actual consumer confusion. The Honorable
Order offered two alleged instances of “confusion” at the preliminary injunction hearing
however, those instances of confusion are irrelevant. First, the Honorable Order noted an
error by a news broadcaster for Fox who erroneously attributed to Building Champions
instead of the Honorable Order a $25,000 donation to hurricane disaster relief.° Ifa
likelihcod of confusion exists, it must be based on the confusion of a customer or
purchaser, not confusion or mistake in general. As noted in Sunenblick v. Harrell, 895
F.Supp. 616, 631 (S.D. N.Y. 1995), “the relevant confusion to be avoided is that which
affects purchasing decisions and not confusion generally.” The Fox broadcast was
merely a reporting error. The error in no way related to the merchandise being offered by
either party.

The second instance of alleged confusion was Mr. Bastin’s testimony that his

daughter wore a hat sold by the Honorable Order, and someone allegedly believed that

° Defendant objected to the admission of this evidence on the basis of relevance.

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the hat was associated with the ABA team.’ Since the Honorable Order has not objected
to the name of the basketball team, this type of confusion is irrelevant because the source
of confusion must be the disputed mark. The relevant inquiry is whether anyone wearing
merchandise bearing Building Champions’ Design Mark would believe that such
merchandise was affiliated with the Honorable Order. “The test is not whether confusion
is possible; nor is it whether confusion is probable among customers who are not
knowledgeable. Rather, the test, .. . is whether confusion is probable among numerous
customers who are ordinarily prudent.” Estee Lauder, Inc. v. The Gap, Inc., 108 F.3d.
1503, 1511 (2™ Cir. 1997). The prudent purchaser and fan of Building Champions’ will
recognize the team logo in connection with both the basketball services and its
merchandise therefore, there is no likelihood of confusion in connection with
merchandise bearing the Design Mark.

Further, courts generally require plaintiffs to submit surveys to establish evidence
of confusion. The Honorable Order has not submitted any such surveys and the hearsay
evidence of the Honorable Order’s Chief Operating Officer that his daughter was
approached by an unknown individual does not sufficiently establish actual confusion.

5. Marketing Channels.

This factor “requires a court to consider the similarities or differences between the
predominant customers of the parties’ respective goods or services.” Daddy's Junky
_ Music Stores, 109 F.3d at 285. The predominant customers of the parties are inherently
distinct. The customer base for the Honorable Order is individuals who desire to support
the organization and its charitable functions through the purchase of novelty items.

Building Champions’ prospective customers are fans of the basketball team. The Sixth

’ Defendant objected to the admission of this evidence on the grounds that it was hearsay.

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Circuit has recognized that, “dissimilarities between the predominant customers of a
plaintiff's and defendant’s goods or services lessens the possibility of confusion, mistake,
or deception.” Homeowner's Group, 931 F.2d at 1110. Since charitable services and
basketball services are wholly unrelated, there is no overlap in the customer base and the
likelihood of confusion is lessened.

While testimony at the preliminary hearing indicated that both parties may
attempt to sell their merchandise in some retail establishments, the apparel would
undoubtedly be located in different sections of the store. Building Champions
merchandise would always be placed in a sports section of the store and associated with
the team. Even if the parties’ goods are sold in the same stores, courts have recognized
that even though marks are applied to the same goods and sold in the same store that does
not necessarily result in a likelihood of confusion. Sunenblick v. Harrell, 895 F. Supp.
616 (S.D. N.Y. 1995).

6. Likely Degree of Purchaser Care.

While the goods sold by the parties are relatively inexpensive, such items are
unusual, in fact they are unique. The merchandise of both parties such as hats, shirts and
jackets are being purchased based on the purchaser’s affinity for the sponsoring
organization. For example, a consumer will purchase a shirt sporting the Design Mark to
show its loyalty and affection for the basketball team. As noted by the court in the
Harlem Wizards case, fans are “generally sophisticated and knowledgeable of their sport;
they read about their favorite teams in the sports pages or listen to sports reporting and
commentary on television and radio.” Harlem Wizards Entertainment Basketball, 952

F.Supp. at 1097, Sports fans have a loyalty for their teams that is usually expressed by

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wearing team gear. These items are only purchased because of the consumer’s affiliation
with the sponsoring group. No one would purchase these items but for their support of
the secondary source — in this case the basketball team.

7. Defendant’s Intention in Selecting the Mark.

Courts have noted that, “intent is relevant because purposeful copying indicates
that the alleged infringer, who has at least as much knowledge as the trier of fact
regarding the likelihood of confusion, believes that this copying may divert some
business from the senior user.” Daddy’s Junky Music Stores, 109 F.3d at 286. Building
Champions’ intent in selecting the name “KENTUCKY COLONELS” had nothing
whatsoever to do with the Honorable Order. As Ms. Roach testified at the preliminary
hearing, it had everything to do with basketball:

20 Q. I want to talk about selecting the team name. How was the
21 team's name selected?

22 A. Weconducted a name-the-team contest where participants
23 were to cast their votes as to what they wanted to name the

24 team.

25 Q. How are you familiar with that process?

A. Because I created the contest.

Q. When did you first consider the name "Kentucky Colonels"
for the basketball team?

A. Immediately. When I first chose Louisville, I said that
Kentucky Colonels would be a great name.

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[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 173-174.]

11 Q. What was response of the public from the survey that you
12 conducted?

13. A. Over 25 percent of the people that voted in wanted and

14 requested the name "Kentucky Colonels."

15 Q. Okay. What impact did that survey have on your decision
16 to name the team "Kentucky Colonels"?

17 A. It almost solidified it, my decision. I knew if I wanted

18 and the people of Louisville wanted it or the surrounding

19 counties, it had to be a perfect fit.

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[See Transcript from the Preliminary Hearing, dated August 30, 2004, page 175.]
In selecting its name and ultimately the Design Mark used on merchandise, Building
Champions sought to associate the two marks with its basketball services.

8. Likelihood of Expansion of the Product Lines.

While Building Champions anticipates expanding its product lines to meet
customer demand, such expansion will not affect the rights of the Honorable Order. As
demonstrated above, use of the Design Mark by Building Champions in connection with
entertainment services related to basketball is not likely to cause confusion with the
Honorable Order’s use of the mark “KENTUCKY COLONELS” because the services are
so unrelated.

D. The Honorable Order has Failed to Establish the Factors Necessary
for Injunctive Relief

“A preliminary injunction is an extraordinary remedy which should be granted
only if the movant carries his or her burden of proving that the circumstances clearly
demand it.” Big Time Worldwide Concert & Sport Club at Town Center v. Marriott
International, 236 F.Supp. 2d. 791 (E.D. Mich. 2003); citing Leary v. Daeschner, 228
F.3d 729, 739 (6" Cir. 2000). The Court must consider four factors in determining
whether or not to issue a preliminary injunction: (1) whether the movant has a strong
likelihood of success on the merits; (2) whether the movant would otherwise suffer
irreparable injury; (3) whether issuance of a preliminary injunction would cause
substantial harm to others; and (4) whether the public interest would be served by
issuance of a preliminary injunction. Michigan Bell Telephone Company v. Engler, 257
F.3d 587, 592 (6™ Cir. 2001). These factors, “are not prerequisites that must be satisfied;

rather, they are considerations to be balanced that guide the discretion of the court.”

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Milliron v. Louisville & Jefferson County Metropolitan Sewer District, 867 F.Supp. 559,
563 (W.D. Ky. 1994). Plaintiff has clearly failed to meet its burden of proving the first
element required to be entitled to injunctive relief.® Further, Plaintiff has failed to
establish that it will suffer irreparable harm and yet, Defendant and the public will suffer
immeasurably by such a result. In applying each of these factors to the present case,
Plaintiff's lack of any right to relief is so clear that the only result must be that Plaintiff's
motion for injunctive relief be denied.

CONCLUSION

FOR THE FOREGOING REASONS, Defendant Building Champions requests
that this Court deny Plaintiff's request for preliminary injunctive relief.

Respectfully submitted,

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* As set forth above, none of the eight Sixth Circuit factors demonstrates that Building Champions’ use of
the Design Mark is likely to cause confusion. For these reasons, Plaintiff is not likely to succeed on the
merits in its claim of trademark infringement.

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Certificate of Service

The undersigned hereby certifies that a copy of the foregoing including all
attachments and this certificate of service was served on Plaintiff by delivering a true
copy thereof to its attorneys of record, this |b [day of September, 2004, in an envelope,
first class postage prepaid, addressed as follows:

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